MANDATE
                      Case
                     Case   20-1494, Document
                          1:20-cv-03325-AT    143, 05/19/2020,
                                           Document   47 Filed2842204,
                                                               05/19/20 Page1
                                                                         Page of 4 4 N.Y.S.D. Case #
                                                                              1 of
                                                                                     20-cv-3325(AT)



     20-1494-cv
     Yang, et al. v. Kosinski, et al.

                                            UNITED STATES COURT OF APPEALS
                                               FOR THE SECOND CIRCUIT

                                                   SUMMARY ORDER
     Rulings by summary order do not have precedential effect. Citation to a summary order filed
     on or after January 1, 2007, is permitted and is governed by Federal Rule of Appellate
     Procedure 32.1 and this Court’s Local Rule 32.1.1. When citing a summary order in a
     document filed with this Court, a party must cite either the Federal Appendix or an
     electronic database (with the notation “summary order”). A party citing a summary order
     must serve a copy of it on any party not represented by counsel.

            At a stated term of the United States Court of Appeals for the Second Circuit, held at
     the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York,
     on the 19th day of May, two thousand twenty.

     PRESENT:               AMALYA L. KEARSE,
                            DENNIS JACOBS,                                  USDC SDNY
                                                                            DOCUMENT
                            JOSÉ A. CABRANES,                               ELECTRONICALLY FILED
                                         Circuit Judges.                    DOC #:   _________________
                                                                            DATE FILED: May 19, 2020 __

     ANDREW YANG, INDIVIDUALLY AND ON BEHALF OF ALL
     OTHERS SIMILARLY SITUATED; JONATHAN HERZOG,
     INDIVIDUALLY AND ON BEHALF OF ALL OTHERS SIMILARLY
     SITUATED; HELLEN SUH, INDIVIDUALLY AND ON BEHALF
     OF ALL OTHERS SIMILARLY SITUATED; BRIAN VOGEL,
     INDIVIDUALLY AND ON BEHALF OF ALL OTHERS SIMILARLY
     SITUATED; SHLOMO SMALL, INDIVIDUALLY AND ON BEHALF
     OF ALL OTHERS SIMILARLY SITUATED; ALISON HWANG,
     INDIVIDUALLY AND ON BEHALF OF ALL OTHERS SIMILARLY
     SITUATED; KRISTEN MEDEIROS, INDIVIDUALLY AND ON
     BEHALF OF ALL OTHERS SIMILARLY SITUATED; ROGER GREEN,
     INDIVIDUALLY AND ON BEHALF OF ALL OTHERS SIMILARLY
     SITUATED,

                                        Plaintiffs-Appellees,                    20-1494-cv

     JAY BELLANCA, TRACI STRICKLAND, EMILY ADAMS, NESTOR
     MEDINA, SIMRAN NANDA, KATHRYN LEVY, JOSHUA SAUBERMAN,
     CARI GARDNER, STEPHEN CARPINETA, NANCY DEDELVA, TING
     BARROW, PENNY MINTZ, GEORGE ALBRO,

                                        Intervenors-Plaintiffs-Appellees,

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MANDATE ISSUED ON 05/19/2020
          Case
         Case   20-1494, Document
              1:20-cv-03325-AT    143, 05/19/2020,
                               Document   47 Filed2842204,
                                                   05/19/20 Page2
                                                             Page of 44
                                                                  2 of



                    v.

PETER S. KOSINSKI, CO-CHAIR AND COMMISSIONER,
INDIVIDUALLY AND IN HIS OFFICIAL CAPACITIES AT THE NYS BOE;
TODD D. VALENTINE, CO-EXECUTIVE DIRECTOR, INDIVIDUALLY
AND IN HIS OFFICIAL CAPACITIES AT THE NYS BOE; ROBERT A.
BREHM, CO-EXECUTIVE DIRECTOR, INDIVIDUALLY AND IN HIS
OFFICIAL CAPACITIES AT THE NYS BOE,

                    Defendants-Appellants,

ANDREW SPANO, COMMISSIONER, INDIVIDUALLY AND IN HIS
OFFICIAL CAPACITIES AT THE NYS BOE,

                    Intervenor-Defendant-Appellant,

NEW YORK STATE BOARD OF ELECTIONS; DOUGLAS A. KELLNER,
CO-CHAIR AND COMMISSIONER, INDIVIDUALLY AND IN HIS OFFICIAL
CAPACITIES AT THE NYS BOE,

                    ADR Providers-Intervenors-Defendants-Appellants,

ANDREW CUOMO, AS GOVERNOR OF THE STATE OF NEW YORK,

                    Defendant.


FOR PLAINTIFFS-APPELLEES:                                JEFFREY M. KURZON, Kurzon Kohen
                                                         LLP, New York, NY.

FOR INTERVENORS-PLAINTIFFS-APPELLEES:
                                     J. REMY GREEN (Elena L. Cohen,
                                     Jonathan Wallace, on the brief) Cohen &
                                     Green P.L.L.C., Ridgewood, NY; ARTHUR
                                     Z. SCHWARTZ, Advocates for Justice, New
                                     York, NY.

FOR DEFENDANTS-APPELLANTS:                               JUDITH N. VALE, Senior Assistant
                                                         Solicitor General (Barbara D. Underwood,
                                                         Solicitor General, Steven C. Wu, Deputy
                                                         Solicitor General, Jennifer L. Clark,
                                                         Assistant Solicitor General, on the brief), for
                                                         Letitia James, Attorney General, State of
                                                         New York, New York, NY.

                                                 2
            Case
           Case   20-1494, Document
                1:20-cv-03325-AT    143, 05/19/2020,
                                 Document   47 Filed2842204,
                                                     05/19/20 Page3
                                                               Page of 44
                                                                    3 of




FOR AMICI CURIAE BERNIE SANDERS AND BERNIE 2020 INC.:
                                     Malcolm Seymour, David R. West, Foster
                                     Garvey, P.C., New York, NY.

FOR AMICI CURIAE NEW YORK STATE VOTERS:
                                     Ezra Ishmael Young, Law Office of Ezra
                                     Young, Brooklyn, NY.

FOR AMICI CURIAE MEDICAL PROFESSIONALS:
                                     Robert Rickner, Rickner PLLC, New
                                     York, NY.

FOR AMICI CURIAE HEATHER KEY, ET AL.:                       Walter H. Hackett, III, Law Office of
                                                            Walter Hackett, Walnut, CA.

        Appeal from a May 5, 2020 order of the United States District Court for the Southern
District of New York (Analisa Torres, Judge).

        UPON DUE CONSIDERATION, IT IS HEREBY ORDERED, ADJUDGED,
AND DECREED that the May 5, 2020 order of the District Court granting the application for
preliminary injunction be and hereby is AFFIRMED. An opinion of the Court explaining its
reasoning in further detail will follow.

         Defendants-Appellants (“Defendants”) appeal from a May 5, 2020 order of the District
Court granting an application of preliminary injunction to require them to reinstate to the
Democratic primary ballot those presidential and delegate candidates who were duly qualified as of
April 26, 2020, and to hold the primary election on June 23, 2020. Defendants argue that the
decision of the New York State Board of Elections (“Board”) to remove from the ballot the
candidates who had suspended their campaigns (along with their pledged delegates) is supported by
reasonable concerns about harms to the public health and election administration workers in light of
the current COVID-19 pandemic. Accordingly, Defendants argue, the Board’s decision did not
violate the First Amendment rights of Plaintiffs and Intervenors-Plaintiffs. We assume the parties’
familiarity with the underlying facts, the procedural history of the case, and the issues on appeal.

        We review de novo the District Court’s legal conclusions in connection with its decision to
grant the application for preliminary injunction, see Am. Express Fin. Advisors Inc. v. Thorley, 147 F.3d
229, 231 (2d Cir. 1998), but review its ultimate decision to issue the injunction for abuse of
discretion, see Goldman, Sachs & Co. v. Golden Empire Schs. Fin. Auth., 764 F.3d 210, 214 (2d Cir. 2014).



                                                   3
            Case
           Case   20-1494, Document
                1:20-cv-03325-AT    143, 05/19/2020,
                                 Document   47 Filed2842204,
                                                     05/19/20 Page4
                                                               Page of 44
                                                                    4 of



        After reviewing the record, we affirm the order granting the application for preliminary
injunction for substantially the reasons given by the District Court in its thorough May 5, 2020
Opinion and Order. See Yang v. Kellner, No. 20-cv-3325 (AT), ---F. Supp. 3d---, 2020 WL 2129597, at
*1–14 (S.D.N.Y. May 5, 2020).

                                         CONCLUSION

        We have reviewed all of the remaining arguments raised by Defendants on appeal and find
them to be without merit. For the foregoing reasons, we AFFIRM the May 5, 2020 order of the
District Court.

       The mandate shall issue forthwith. An opinion of this Court will follow explaining its
reasoning in further detail.


                                                      FOR THE COURT:
                                                      Catherine O’Hagan Wolfe, Clerk of Court




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